
In re Carroll, Donald Buford; Rushing, Charlette; Phoenix Insurance Company, applying for writ of certiorari, writ of review to the Court of Appeal, Second Circuit, No. 16374-CA; Parish of Caddo, 1st Judicial District Court, Div. “H”, No. 286386.
Prior report: 455 So.2d 1197.
Granted. Judgment of the Court of Appeal is reversed. The case is remanded to the Court of Appeal for reconsideration in light of Snider v. Kemper, 461 So.2d 1051, decided January 14, 1985.
DENNIS and WATSON, JJ., dissent, being of the opinion that the Court of Appeal’s decision is correct.
